                      UNITED STATES DISTRICT COURT
                     EASTERN DISTRICT OF WISCONSIN
______________________________________________________________________________

WILLIAM FEEHAN,

                Plaintiff,
                                             JUDGMENT IN A CIVIL CASE
        v.
                                                   Case No. 20-cv-1771-pp
WISCONSIN ELECTIONS COMMISSION,
ANN S. JACOBS, MARK L. THOMSEN,
MARGE BOSTELMANN, JULIE M. GLANCEY,
DEAN KNUDSON, ROBERT F. SPINDELL, JR.,
and TONY EVERS,

                Defendants.


     Jury Verdict. This case came before the court for a trial by jury. The
parties have tried the issues, and the jury has rendered its verdict.

     Decision by Court. This case came before the court, the court has
decided the issues, and the court has rendered a decision.

      THE COURT ORDERS AND ADJUDGES that judgment is entered in
favor of the defendants and against the plaintiff.

        THE COURT ORDERS that this case is DISMISSED.

        Approved and dated in Milwaukee, Wisconsin this 9th day of December,
2020.

                                             BY THE COURT:



                                             HON. PAMELA PEPPER
                                             Chief United States District Judge

                                             GINA M. COLLETTI
                                             Clerk of Court

                                             s/ Cary Biskupic
                                             (by) Deputy Clerk



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